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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

JANE DOE,                                        §
                                                 §
       Plaintiff,                                §
                                                 §
V.                                               §        CA NO. 7:19-CV-00309
                                                 §
                                                 §
                                                 §
EDINBURG CONSOLIDATED                            §
INDEPENDENT SCHOOL DISTRICT,                     §
                                                 §
       Defendant.                                §

PLAINTIFF’S MOTION TO COMPEL DEFENDANT EDINBURG CISD TO RESPOND
 TO FIRST SET OF INTERROGATORIES, FIRST REQUESTS FOR PRODUCTION
               AND SECOND REQUESTS FOR PRODUCTION

TO THE HONORABLE JUDGE OF SAID COURT:

       Plaintiff, Jane Doe, asks the Court to compel Defendant, Edinburg CISD, to respond to

Plaintiff’s discovery requests. Plaintiff would respectfully show this Court the following:

                                       INTRODUCTION

1.     Plaintiff, Jane Doe, filed suit against Defendant, Edinburg CISD for Title IX and §1983

       violations after one of its teachers at Robert Vela High School sexually assaulted Plaintiff

       on and off campus.

2.     Discovery in this suit is governed by a Level 2 discovery-control plan. The discovery

       period will end on August 10, 2020.

3.     This case is set for pre-trial conference on September 11, 2020.

                                        BACKGROUND

4.     On November 26, 2019, Plaintiff served Defendant with her First Requests for Production

       and First Set of Interrogatories in accordance with the Federal Rules of Civil Procedure.

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5.     On December 13, 2019, Plaintiff served Defendant with her Second Requests for

       Production and Second Set of Interrogatories in accordance with the Federal Rules of Civil

       Procedure.

6.     Defendant responded with improper objections to Plaintiff’s discovery requests, refusing

       to produce documents and/or responding with incomplete and inadequate answers.

7.     In an attempt to confer in good faith, Plaintiff sent Defendant a letter on February 3, 2020

       regarding discovery deficiencies, specifying exactly which of Defendant’s Responses were

       deficient and respectfully asking Defendant to supplement pursuant to the Rules. See

       Exhibit A, Letter. Plaintiff also asked Defendant to remove their improper objections. Id.

       Additionally, Plaintiff attached a draft of this motion to compel to the letter.

8.     Defendants supplemented with certain documents and supplemented answers to certain

       interrogatories on February 25, 2020 but Defendants are still withholding various

       documents and refusing to supplement answers to interrogatories.

9.     Defendant stated on February 25, 2020 that “We are still going over several documents and

       will supplement with additional information as soon as we can.” See Exhibit B, E-Mail

       #1.

10.    Defendants’ counsel also spoke with Plaintiff’s counsel via telephone explaining that they

       were in the process of preparing documents for production and would supplement

       promptly.

11.    Plaintiff followed up with Defendant via email inquiring as to the status of these documents

       on April 27, 2020. See Exhibit C, E-Mail #2.




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12.        After receiving no response, Plaintiff followed up again via email on May 5, 2020 inquiring

           as to the status of documents and supplemental answers to interrogatories. See Exhibit D,

           E-Mail #3.

13.        To date, Defendant has not responded and Plaintiff is not in receipt of supplemental

           documents and answers to discovery that were previously requested.

14.        After trying to resolve the issue outside of Court, Plaintiff has no choice but to file this

           Motion to Compel.

                                       ARGUMENT & AUTHORITIES

15.        The purpose of discovery is to seek the truth, so disputes may be decided by what facts are

           revealed, not by what facts are concealed. Axelson, Inc. v. McIlhany, 798 S.W.2d 550, 555

           (Tex. 1990).1 Discovery may be obtained about any matter relevant to the subject matter

           of the case. TEX. R. CIV. P. 192.3(a).2 Information is discoverable as long as it appears

           “reasonably calculated to lead to the discovery of admissible evidence.” Id. The scope of

           discovery under the Federal Rules is broad. Unless otherwise limited by court order, the

           scope of discovery is as follows: Parties may obtain discovery regarding any nonprivileged

           matter that is relevant to any party’s claim or defense and proportional to the needs of the

           case, considering the importance of the issues at stake in the action, the amount in

           controversy, the parties’ relative access to relevant information, the parties’ resources, the

           importance of the discovery in resolving the issues, and whether the burden or expense of

           the proposed discovery outweighs its likely benefit. FED. R. CIV. P. (b)(1).

16.        A court may compel a party to respond adequately to Requests for Production. See FED. R.

           CIV. P. 37. Defendant did not respond adequately to Plaintiff’s First and Second Requests


1
    While Texas law is not binding on this Court, the cases are persuasive.
2
    Id.

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           for Production and First Set of Interrogatories as required by the rules. Additionally,

           Defendant’s objections are improper. Therefore, the Court should compel Defendant to

           comply with the rule. The following responses by Defendant are inadequate for the

           following reasons:

FIRST REQUESTS FOR PRODUCTION:

2.         Please produce the personnel file for Rene Gutierrez.

           RESPONSE:
           Defendant objects to this request as seeking information that is irrelevant and not
           reasonably calculated to lead to the discovery of admissible evidence.

           Defendant further objects to this request as seeking to invade the personal privacy rights of
           Defendant’s employee or former employee.

           PLAINTIFF’S REPLY: Defendant’s objections are improper. For one thing, the
           objection is completely arbitrary as Defendant did not object to producing the personnel
           file of former employee Francisco Coronado Badillo in First Request for Production No.
           1. Secondly, Defendant has not explained how this request invades the personal privacy
           rights of the employee nor has Defendant produced a privilege log. These documents are
           relevant to shed light on what the employee knew about Badillo’s conduct. Rene Gutierrez
           was the Superintendent of Edinburg CISD. What he knows is extremely crucial to this case.
           These documents go towards knowledge which is a key element of Plaintiff’s claim.

           Generally, discovery is permitted into any matter, not privileged, that is relevant to the
           subject matter so long as it appears “reasonably calculated” to lead to the discovery of
           admissible evidence. Lindsey v. O’Neill, 689 S.W.2d 400, 402 (Tex. 1985, orig.
           proceeding) (per curiam); TEX. R. CIV. P. 192.3.3 The scope of discovery under Federal
           Rules is broad. Unless otherwise limited by court order, the scope of discovery is as
           follows: Parties may obtain discovery regarding any nonprivileged matter that is relevant
           to any party’s claim or defense and proportional to the needs of the case, considering the
           importance of the issues at stake in the action, the amount in controversy, the parties’
           relative access to relevant information, the parties’ resources, the importance of the
           discovery in resolving the issues, and whether the burden or expense of the proposed
           discovery outweighs its likely benefit. FED. R. CIV. P. (b)(1).

           Furthermore, records relating to an employee of the educational agency that are maintained
           in the normal course of business, relate exclusively to the employee’s capacity as an
           employee, and are not available for any other purpose are subject to disclosure under
           FERPA.


3
    Note: While Texas law is not binding on this Court, the cases are persuasive.

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3.    Please produce the personnel file for Dr. Jennifer. Mendoza-Culberson.

      RESPONSE:
      Defendant objects to this request as seeking information that is irrelevant and not
      reasonably calculated to lead to the discovery of admissible evidence.

      Defendant further objects to this request as seeking to invade the personal privacy rights of
      Defendant’s employee or former employee.

      PLAINTIFF’S REPLY: Defendant’s objections are improper. For one thing, the
      objection is completely arbitrary as Defendant did not object to producing the personnel
      file of former employee Francisco Coronado Badillo in First Request for Production No.
      1. Secondly, Defendant has not explained how this request invades the personal privacy
      rights of the employee nor has Defendant produced a privilege log. These documents are
      relevant to shed light on what the employee knew about Badillo’s conduct.

      Upon information and belief, Dr. Jennifer Mendoza-Culberson is the administrator to
      whom Erika Martinez, former Robert Vela High School student, reported Badillo regarding
      his inappropriate behavior in February 2017. Ms. Culberson also had Martinez fill out an
      affidavit which has now mysteriously disappeared. What Ms. Culberson knows is
      extremely crucial to this case. These documents go towards knowledge which is a key
      element of Plaintiff’s claim.

      Generally, discovery is permitted into any matter, not privileged, that is relevant to the
      subject matter so long as it appears “reasonably calculated” to lead to the discovery of
      admissible evidence. Lindsey v. O’Neill, 689 S.W.2d 400, 402 (Tex. 1985, orig.
      proceeding) (per curiam); TEX. R. CIV. P. 192.3. The scope of discovery under Federal
      Rules is broad. Unless otherwise limited by court order, the scope of discovery is as
      follows: Parties may obtain discovery regarding any nonprivileged matter that is relevant
      to any party’s claim or defense and proportional to the needs of the case, considering the
      importance of the issues at stake in the action, the amount in controversy, the parties’
      relative access to relevant information, the parties’ resources, the importance of the
      discovery in resolving the issues, and whether the burden or expense of the proposed
      discovery outweighs its likely benefit. FED. R. CIV. P. (b)(1).

      Furthermore, records relating to an employee of the educational agency that are maintained
      in the normal course of business, relate exclusively to the employee’s capacity as an
      employee, and are not available for any other purpose are subject to disclosure under
      FERPA.

4.    Please produce any and all security videos from Robert Vela High School for the 2016-
      2017 year.

      RESPONSE:
      Please See Exhibits B and C



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      PLAINTIFF’S REPLY:
      Plaintiff requested security videos from Robert Vela High School for the entire 2016-2017
      year. Defendant only produced two videos from May 24, 2017 and May 25, 2017.

      This response is inadequate. Plaintiff respectfully requests that Defendant supplement.

5.    Documents reflecting any and all complaints of sexual abuse, sexual assault, assault, or
      mistreatment (to include lawsuits) that have allegedly occurred at Edinburg CISD over the
      past seven years, including documents reflecting the nature of the complaint, who
      complained, when the complaint was made, what investigation you did in response to the
      complaint, any action you took, and the final disposition of the complaint. DO NOT
      RESTRICT THIS REQUEST TO INCIDENTS INVOLVING STAFF.

      RESPONSE:
      Defendant objects to this request as seeking information that is irrelevant and not
      reasonably calculated to lead to the discovery of admissible evidence.

      Defendant further objects to this request as seeking to invade the personal privacy rights of
      Defendant’s students and would potentially call for a violation of FERPA by Defendant.

      PLAINTIFF’S REPLY: Defendant’s objections are improper. These documents are
      possibly the most relevant of all the documents. These documents will show if Edinburg
      CISD was put on notice of previous assaults and/or harassment of students by teachers or
      staff. This will go to actual knowledge which is a key proponent of plaintiff’s burden.
      Edinburg CISD knows this and the fact that Defendant is refusing to produce documents
      lends support to the fact that they are afraid of what these documents will reveal. Upon
      information and belief, Plaintiff knows of two previous incidents of inappropriate behavior
      by Edinburg CISD teachers which Plaintiff has disclosed to Defendants. Defendant should
      in turn disclose what it has in its possession.

      Furthermore, Defendant’s FERPA objection is improper. FERPA’s purpose is to prohibit
      disclosure of education records to third parties unless the school obtains prior written
      parental consent for such disclosure, or an exception to the consent requirement applies.
      What constitutes an education record is where Defendant’s objection fails. Education
      records are records that are (1) directly related to a student, and (2) maintained by an
      educational agency or a party acting on behalf of the educational agency. See also 34 C.F.R.
      §300.611(b). Whether a document is an educational record under FERPA depends on who
      maintains it, not who created it.

      To be “maintained” by the school, and thus covered by FERPA, the record must be kept in
      one place with a single record of access. Owasso Indep. Sch. Dist. v. Falvo, 36 IDELR 62
      (U.S. 2002). Thus, records maintained briefly by staff, such as a student’s assignments, do
      not qualify as education records.




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       See, e.g., Saddleback Valley Unified Sch. Dist., 57 IDELR 298 (SEA California
       2011)(incident reports of a student’s injuries maintained by school’s risk management
       department were not educational records).

       Complaints of sexual abuse are not education records and therefore are not prohibited by
       FERPA. For one thing, some of the sexual abuse complaints could relate to staff on staff
       abuse, who are not students. Plaintiff’s request did not limit the complaints to solely those
       of students. Additionally, most of these complaints regarding sexual abuse were possibly
       reported to law enforcement as the Edinburg CISD Police Department is the agency that
       investigates these types of incidents. The term “education record” does not include records
       maintained by a law enforcement unit of the educational agency, created for the purpose
       of law enforcement, if maintained separately from education records, maintained solely for
       law enforcement purposes, and disclosed only to other members of a school police force.
       34 C.F.R. §99.8.

9.     Please provide any policy or procedure pertaining to the alleged conduct of Francisco
       Coronado Badillo.

       RESPONSE:
       Defendant objects to this request as being overly broad, vague and confusing.

       PLAINTIFF’S REPLY:
       Defendant’s objection is improper. Plaintiff’s request is neither broad, vague or confusing.
       Plaintiff is requesting the District’s policy regarding sexual abuse of minor students.
       Plaintiff is requesting the specific policy by the District that prohibits such conduct. If
       Defendant does not have such a policy, then Defendant should state “none”.

11.    Please provide a copy of any policy or procedure that addresses absence of a student from
       class.

       RESPONSE:
       There is no specific policy that sets out a specific procedure for removing students from a
       classroom. Students can be removed by administration, security or campus police for
       official school district related issues. Teachers are given the discretion as to whether or not
       they permit a student to be temporarily excused from class for extra-curricular activities or
       some other academic need but there are no sanctioned situations where students are
       removed from class to be taken to an isolated area as opposed to an ongoing class or the
       office. Hall monitors, security guards and police officers are on campus for the protection
       of students and staff.

       PLAINTIFF’S REPLY: Defendant’s response is inadequate as it did not answer the
       question being asked. Plaintiff requested policies that address absence of students from
       class not removal. Defendant has copied and pasted its answer from a previous request.

       Defendant needs to clarify its response and/or supplement promptly. If Defendant has no
       such policy, then Defendant needs to state “none”.

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12.    Please produce all non-privileged documents pertaining to any investigation you performed
       as a result of the allegations in this case.

       RESPONSE:
       Please see the attached exhibits

       PLAINTIFF’S REPLY: Defendant has not specified which exhibits are related to this
       response. Defendant has not specified the bates number.

13.    Please produce documents demonstrating any and all complaints received by you
       pertaining to the conduct of Francisco Coronado Badillo.

       RESPONSE:
       None prior to the documents attached hereto.

       PLAINTIFF’S REPLY: Per Erika Martinez’s January 24, 2020 Declaration, which was
       produced to Defendant previously, Ms. Martinez filled out an affidavit for school
       administrator Ms. Culberson regarding Badillo’s inappropriate behavior towards her in
       February of 2017. According to Ms. Martinez’s declaration, a friend accompanied her on
       this visit to report Mr. Badillo to the administrator. Defendant needs to produce such
       affidavit as it is pertinent to this case and goes towards the District’s knowledge of
       Badillo’s behavior towards minor students.

21.    Please produce the personnel file for Jessica Garcia Badillo.

       RESPONSE:
       Defendant objects to this request as seeking information that is irrelevant and not
       reasonably calculated to lead to the discovery of admissible evidence.

       Defendant further objects to this request as seeking to invade the personal privacy rights of
       Defendant’s employee or former employee.

       PLAINTIFF’S REPLY: Defendant’s objections are improper. For one thing, the
       objection is completely arbitrary as Defendant did not object to producing the personnel
       file of former employee Francisco Coronado Badillo in First Request for Production No.
       1. Secondly, Defendant has not explained how this request invades the personal privacy
       rights of the employee nor has Defendant produced a privilege log. These documents are
       relevant to shed light on what the employee knew about Badillo’s conduct. The documents
       are even more relevant as Jessica Badillo was the wife of Francisco Badillo. She would
       have specific knowledge as to Mr. Badillo’s behavior. Additionally, Francisco used his
       wife’s classroom when he assaulted Plaintiff. What Ms. Badillo knows is extremely
       crucial to this case. These documents go towards knowledge which is a key element of
       Plaintiff’s claim.




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       Generally, discovery is permitted into any matter, not privileged, that is relevant to the
       subject matter so long as it appears “reasonably calculated” to lead to the discovery of
       admissible evidence. Lindsey v. O’Neill, 689 S.W.2d 400, 402 (Tex. 1985, orig.
       proceeding) (per curiam); TEX. R. CIV. P. 192.3. The scope of discovery under Federal
       Rules is broad. Unless otherwise limited by court order, the scope of discovery is as
       follows: Parties may obtain discovery regarding any nonprivileged matter that is relevant
       to any party’s claim or defense and proportional to the needs of the case, considering the
       importance of the issues at stake in the action, the amount in controversy, the parties’
       relative access to relevant information, the parties’ resources, the importance of the
       discovery in resolving the issues, and whether the burden or expense of the proposed
       discovery outweighs its likely benefit. FED. R. CIV. P. (b)(1).

       Furthermore, records relating to an employee of the educational agency that are maintained
       in the normal course of business, relate exclusively to the employee’s capacity as an
       employee, and are not available for any other purpose are subject to disclosure under
       FERPA.

22.     Please produce the personnel file for Francisco Lumbreras.

       RESPONSE:
       Defendant objects to this request as seeking information that is irrelevant and not
       reasonably calculated to lead to the discovery of admissible evidence.

       Defendant further objects to this request as seeking to invade the personal privacy rights of
       Defendant’s employee or former employee.

       PLAINTIFF’S REPLY:
       Defendant’s objections are improper. For one thing, the objection is completely arbitrary
       as Defendant did not object to producing the personnel file of former employee Francisco
       Coronado Badillo in First Request for Production No. 1. Secondly, Defendant has not
       explained how this request invades the personal privacy rights of the employee nor has
       Defendant produced a privilege log. These documents are relevant to shed light on what
       the employee knew about Badillo’s conduct.

       The documents are even more relevant as Mr. Lumbreras was Mr. Badillo’s supervisor. He
       was tasked with overseeing Mr. Badillo and his day to day duties. He would have specific
       knowledge of misconduct. What Mr. Lumbreras knows is extremely crucial to this case.
       These documents go towards knowledge which is a key element of Plaintiff’s claim.

       Generally, discovery is permitted into any matter, not privileged, that is relevant to the
       subject matter so long as it appears “reasonably calculated” to lead to the discovery of
       admissible evidence. Lindsey v. O’Neill, 689 S.W.2d 400, 402 (Tex. 1985, orig.
       proceeding) (per curiam); TEX. R. CIV. P. 192.3. The scope of discovery under Federal
       Rules is broad. Unless otherwise limited by court order, the scope of discovery is as
       follows: Parties may obtain discovery regarding any nonprivileged matter that is relevant
       to any party’s claim or defense and proportional to the needs of the case, considering the

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        importance of the issues at stake in the action, the amount in controversy, the parties’
        relative access to relevant information, the parties’ resources, the importance of the
        discovery in resolving the issues, and whether the burden or expense of the proposed
        discovery outweighs its likely benefit. FED. R. CIV. P. (b)(1).


        Furthermore, records relating to an employee of the educational agency that are maintained
        in the normal course of business, relate exclusively to the employee’s capacity as an
        employee, and are not available for any other purpose are subject to disclosure under
        FERPA.


SECOND REQUESTS FOR PRODUCTION

23.     Please produce the personnel file for Noemi Vela.

        RESPONSE:

        Defendant objects to this request as seeking information that is irrelevant and not
        reasonably calculated to lead to the discovery of admissible evidence.

        Defendant further objects to this request as seeking to invade the personal privacy rights of
        Defendant’s employee or former employee.

        PLAINTIFF’S REPLY:
        Defendant’s objections are improper. For one thing, the objection is completely arbitrary
        as Defendant did not object to producing the personnel file of former employee Francisco
        Coronado Badillo in First Request for Production No. 1. Secondly, Defendant has not
        explained how this request invades the personal privacy rights of the employee nor has
        Defendant produced a privilege log. These documents are relevant to shed light on what
        the employee knew about Badillo’s conduct.

        The documents are even more relevant as Ms. Vela was one of Plaintiff’s teachers and she
        was a witness to Mr. Badillo removing Plaintiff from her class. What Ms. Vela knows is
        extremely crucial to this case. Ms. Vela also gave a statement to Edinburg CISD Police
        regarding this incident. These documents go towards knowledge which is a key element of
        Plaintiff’s claim.

        Generally, discovery is permitted into any matter, not privileged, that is relevant to the
        subject matter so long as it appears “reasonably calculated” to lead to the discovery of
        admissible evidence. Lindsey v. O’Neill, 689 S.W.2d 400, 402 (Tex. 1985, orig.
        proceeding) (per curiam); TEX. R. CIV. P. 192.3. The scope of discovery under Federal
        Rules is broad. Unless otherwise limited by court order, the scope of discovery is as
        follows: Parties may obtain discovery regarding any nonprivileged matter that is relevant
        to any party’s claim or defense and proportional to the needs of the case, considering the
        importance of the issues at stake in the action, the amount in controversy, the parties’

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        relative access to relevant information, the parties’ resources, the importance of the
        discovery in resolving the issues, and whether the burden or expense of the proposed
        discovery outweighs its likely benefit. FED. R. CIV. P. (b)(1).

        Furthermore, records relating to an employee of the educational agency that are maintained
        in the normal course of business, relate exclusively to the employee’s capacity as an
        employee, and are not available for any other purpose are subject to disclosure under
        FERPA.

24.     Please produce the personnel file for Jesus Angel Sanchez.

        RESPONSE:

        Defendant objects to this request as seeking information that is irrelevant and not
        reasonably calculated to lead to the discovery of admissible evidence.

        Defendant further objects to this request as seeking to invade the personal privacy rights of
        Defendant’s employee or former employee.

        PLAINTIFF’S REPLY:

        Defendant’s objections are improper. For one thing, the objection is completely arbitrary
        as Defendant did not object to producing the personnel file of former employee Francisco
        Coronado Badillo in First Request for Production No. 1. Secondly, Defendant has not
        explained how this request invades the personal privacy rights of the employee nor has
        Defendant produced a privilege log. These documents are relevant to shed light on what
        the employee knew about Badillo’s conduct.

        The documents are even more relevant as Mr. Sanchez was the one who unlocked the door
        to Ms. Badillo’s classroom at the request of Mr. Badillo when he sexually assaulted
        Plaintiff. What Mr. Sanchez knows is extremely crucial to this case. Mr. Sanchez also gave
        a statement to Edinburg CISD Police regarding this incident. These documents go towards
        knowledge which is a key element of Plaintiff’s claim.

        Generally, discovery is permitted into any matter, not privileged, that is relevant to the
        subject matter so long as it appears “reasonably calculated” to lead to the discovery of
        admissible evidence. Lindsey v. O’Neill, 689 S.W.2d 400, 402 (Tex. 1985, orig.
        proceeding) (per curiam); TEX. R. CIV. P. 192.3. The scope of discovery under Federal
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        to any party’s claim or defense and proportional to the needs of the case, considering the
        importance of the issues at stake in the action, the amount in controversy, the parties’
        relative access to relevant information, the parties’ resources, the importance of the
        discovery in resolving the issues, and whether the burden or expense of the proposed
        discovery outweighs its likely benefit. FED. R. CIV. P. (b)(1).



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        Furthermore, records relating to an employee of the educational agency that are maintained
        in the normal course of business, relate exclusively to the employee’s capacity as an
        employee, and are not available for any other purpose are subject to disclosure under
        FERPA.

25.     Please produce the personnel file for Rosa Maria Bernal.

        RESPONSE:

        Defendant objects to this request as seeking information that is irrelevant and not
        reasonably calculated to lead to the discovery of admissible evidence.

        Defendant further objects to this request as seeking to invade the personal privacy rights of
        Defendant’s employee or former employee.

        PLAINTIFF’S REPLY:

        Defendant’s objections are improper. For one thing, the objection is completely arbitrary
        as Defendant did not object to producing the personnel file of former employee Francisco
        Coronado Badillo in First Request for Production No. 1. Secondly, Defendant has not
        explained how this request invades the personal privacy rights of the employee nor has
        Defendant produced a privilege log. These documents are relevant to shed light on what
        the employee knew about Badillo’s conduct.

        The documents are even more relevant as Ms. Bernal was the assistant principal of Robert
        Vela High School at the time of the incident. She has knowledge of Plaintiff’s outcry
        regarding the assaults on May 25, 2017. What Ms. Bernal knows is extremely crucial to
        this case. Ms. Bernal also gave a statement to Edinburg CISD Police regarding this
        incident. These documents go towards knowledge which is a key element of Plaintiff’s
        claim.

        Generally, discovery is permitted into any matter, not privileged, that is relevant to the
        subject matter so long as it appears “reasonably calculated” to lead to the discovery of
        admissible evidence. Lindsey v. O’Neill, 689 S.W.2d 400, 402 (Tex. 1985, orig.
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        relative access to relevant information, the parties’ resources, the importance of the
        discovery in resolving the issues, and whether the burden or expense of the proposed
        discovery outweighs its likely benefit. FED. R. CIV. P. (b)(1).

        Furthermore, records relating to an employee of the educational agency that are maintained
        in the normal course of business, relate exclusively to the employee’s capacity as an



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        employee, and are not available for any other purpose are subject to disclosure under
        FERPA.

26.     Please produce the personnel file for Alyssa Ramirez.

        RESPONSE:

        Defendant objects to this request as seeking information that is irrelevant and not
        reasonably calculated to lead to the discovery of admissible evidence.

        Defendant further objects to this request as seeking to invade the personal privacy rights of
        Defendant’s employee or former employee.

        PLAINTIFF’S REPLY:
        Defendant’s objections are improper. For one thing, the objection is completely arbitrary
        as Defendant did not object to producing the personnel file of former employee Francisco
        Coronado Badillo in Request for Production No. 1. Secondly, Defendant has not explained
        how this request invades the personal privacy rights of the employee nor has Defendant
        produced a privilege log. These documents are relevant to shed light on what the employee
        knew about Badillo’s conduct.

        The documents are even more relevant as Ms. Ramirez was one of Plaintiff’s teachers and
        she was a witness to Mr. Badillo removing Plaintiff from her class. What Ms. Ramirez
        knows is extremely crucial to this case. Ms. Ramirez also gave a statement to Edinburg
        CISD Police regarding this incident. These documents go towards knowledge which is a
        key element of Plaintiff’s claim.

        Generally, discovery is permitted into any matter, not privileged, that is relevant to the
        subject matter so long as it appears “reasonably calculated” to lead to the discovery of
        admissible evidence. Lindsey v. O’Neill, 689 S.W.2d 400, 402 (Tex. 1985, orig.
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        importance of the issues at stake in the action, the amount in controversy, the parties’
        relative access to relevant information, the parties’ resources, the importance of the
        discovery in resolving the issues, and whether the burden or expense of the proposed
        discovery outweighs its likely benefit. FED. R. CIV. P. (b)(1).

        Furthermore, records relating to an employee of the educational agency that are maintained
        in the normal course of business, relate exclusively to the employee’s capacity as an
        employee, and are not available for any other purpose are subject to disclosure under
        FERPA.

27.     Please produce all records pertaining to the investigation of Miguel Condes for the sexual
        assault of a minor student from Harwell Middle School in 2013.

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  RESPONSE:

  Defendant objects to this request as seeking information that is irrelevant and not
  reasonably calculated to lead to the discovery of admissible evidence.

  Defendant further objects to this request as seeking to invade the personal privacy rights of
  Defendant’s students and would potentially call for a violation of FERPA by Defendant.

  PLAINTIFF’S REPLY:
  Defendant’s objections are improper. These documents are possibly the most relevant of
  all the documents. These documents will show if Edinburg CISD was put on notice of
  previous assaults and/or harassment of students by teachers or staff and yet did nothing to
  prevent future assaults. This will go to actual knowledge which is a key proponent of
  plaintiff’s burden. Edinburg CISD knows this and the fact that Defendant is refusing to
  produce documents lends support to the fact that they are afraid of what these documents
  will reveal.

  This incident with Miguel Condes is public knowledge as it was reported in the local news
  and there are court documents available to the public. Defendant should in turn disclose
  what it has in its possession.

  Furthermore, Defendant’s FERPA objection is improper. FERPA’s purpose is to prohibit
  disclosure of education records to third parties unless the school obtains prior written
  parental consent for such disclosure, or an exception to the consent requirement applies.
  What constitutes an education record is where Defendant’s objection fails. Education
  records are records that are (1) directly related to a student, and (2) maintained by an
  educational agency or a party acting on behalf of the educational agency. See also 34 C.F.R.
  §300.611(b). Whether a document is an educational record under FERPA depends on who
  maintains it, not who created it.

  To be “maintained” by the school, and thus covered by FERPA, the record must be kept in
  one place with a single record of access. Owasso Indep. Sch. Dist. v. Falvo, 36 IDELR 62
  (U.S. 2002). Thus, records maintained briefly by staff, such as a student’s assignments, do
  not qualify as education records.

  See, e.g., Saddleback Valley Unified Sch. Dist., 57 IDELR 298 (SEA California
  2011)(incident reports of a student’s injuries maintained by school’s risk management
  department were not educational records).

  Complaints of sexual abuse are not education records and therefore are not prohibited by
  FERPA. Additionally, most of these complaints regarding sexual abuse were possibly
  reported to law enforcement as the Edinburg CISD Police Department is the agency that
  investigates these types of incidents. The term “education record” does not include records
  maintained by a law enforcement unit of the educational agency, created for the purpose
  of law enforcement, if maintained separately from education records, maintained solely for

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       law enforcement purposes, and disclosed only to other members of a school police force.
       34 C.F.R. §99.8.



FIRST SET OF INTERROGATORIES:

5.     State how many sexual assaults against your students by your employees were reported
       between the years of 2013-2019.

       ANSWER:
       Defendant objects to this interrogatory as seeking information that is irrelevant and not
       reasonably calculated to lead to the discovery of admissible evidence.

       Defendant further objects to this interrogatory as seeking to invade the personal privacy
       rights of Defendant’s students and would call for a violation of FERPA by Defendant.

       PLAINTIFF’S REPLY:
       Defendant’s objections are improper. These documents are possibly the most relevant of
       all the documents. These documents will show if Edinburg CISD was put on notice of
       previous assaults and/or harassment of students by teachers or staff. This will go to actual
       knowledge which is a key proponent of plaintiff’s burden. Edinburg CISD knows this and
       the fact that Defendant is refusing to produce documents lends support to the fact that they
       are afraid of what these documents will reveal. Upon information and belief, Plaintiff
       knows of two previous incidents of inappropriate behavior by Edinburg CISD teachers
       which she has disclosed to Defendants. One of these incidents is public knowledge.
       Defendant should in turn disclose what it has in its possession.

       Furthermore, Defendant’s FERPA objection is improper. FERPA’s purpose is to prohibit
       disclosure of education records to third parties unless the school obtains prior written
       parental consent for such disclosure, or an exception to the consent requirement applies.
       What constitutes an education record is where Defendant’s objection fails. Education
       records are records that are (1) directly related to a student, and (2) maintained by an
       educational agency or a party acting on behalf of the educational agency. See also 34 C.F.R.
       §300.611(b). Whether a document is an educational record under FERPA depends on who
       maintains it, not who created it.

       To be “maintained” by the school, and thus covered by FERPA, the record must be kept in
       one place with a single record of access. Owasso Indep. Sch. Dist. v. Falvo, 36 IDELR 62
       (U.S. 2002). Thus, records maintained briefly by staff, such as a student’s assignments, do
       not qualify as education records.

       See, e.g., Saddleback Valley Unified Sch. Dist., 57 IDELR 298 (SEA California
       2011)(incident reports of a student’s injuries maintained by school’s risk management
       department were not educational records).


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        Complaints of sexual abuse are not education records and therefore are not prohibited by
        FERPA. Additionally, most of these complaints regarding sexual abuse were possibly
        reported to law enforcement as the Edinburg CISD Police Department is the agency that
        investigates these types of incidents. The term “education record” does not include records
        maintained by a law enforcement unit of the educational agency, created for the purpose
        of law enforcement, if maintained separately from education records, maintained solely for
        law enforcement purposes, and disclosed only to other members of a school police force.
        34 C.F.R. §99.8.


                                   EXPENSES OF MOTION

17.     Plaintiff has incurred expenses in preparing and filing this motion to obtain relief. Under

        FED. R. CIV. P. 37 (a)(5)(A), Plaintiff is entitled to reasonable expenses incurred in

        obtaining the order, including attorney’s fees.

                                CONCLUSION AND PRAYER

18.     For these reasons, Plaintiff respectfully asks the Court to compel Defendant Edinburg

        CISD to file adequate responses to Plaintiff’s discovery requests and order Defendant to

        pay Plaintiff for reasonable expenses incurred in filing this motion, including attorney’s

        fees. Pursuant to Local Rule 7.1(c), a proposed order granting the requested relief is

        attached hereto.



                                              Respectfully submitted,

                                              THE BUZBEE LAW FIRM

                                                  By: /s/ Anthony G. Buzbee
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                                               ATTORNEYS FOR PLAINTIFF




                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.1(D), I hereby aver that on April 27, 2020, I once again emailed

counsel for Defendant regarding the discovery deficiencies without court intervention. Thereafter,

Plaintiff received no response. On May 5, 2020, I informed Defendant’s counsel that Plaintiff

would be filing a motion to compel shortly if discovery was not supplemented. Thereafter, Plaintiff

received no response from Defendant’s counsel. The parties are therefore unable to reach an

agreement on this matter.

                                                            /s/ Cornelia Brandfield-Harvey
                                                            Cornelia Brandfield-Harvey


                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this document has been duly served on all

counsel of record in accordance with the Federal Rules of Civil Procedure on May 12, 2020.



                                            /s/ Cornelia Brandfield-Harvey
                                              Cornelia Brandfield-Harvey

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